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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                         Case No. 20-cr-188 (JSR)
                  v.

HAMID AKHAVAN and RUBEN WEIGAND,
                                                         ORAL ARGUMENT REQUESTED
                       Defendants




                        NOTICE OF DEFENDANT RUBEN WEIGAND’S
                          MOTION TO DISMISS THE INDICTMENT

       PLEASE TAKE NOTICE that the undersigned counsel, on behalf of defendant Ruben Weigand,

upon the accompanying memorandum of law, dated February 23, 2021, will move this Court on a date

and time to be designated by the Court, before the Honorable Jed S. Rakoff, United States District Judge

for the Southern District of New York, at the Daniel Patrick Moynihan United States Courthouse, 500

Pearl Street, New York, New York, for an Order granting defendant Weigand’s motion to dismiss the

Indictment with prejudice for a violation of the Speedy Trial Act and the Sixth Amendment.

       PLEASE TAKE FURTHER NOTICE that pursuant to the agreed-upon briefing schedule,

opposition papers shall be served on February 25, 2021, and reply papers, if any, shall be served on

February 26, 2021.
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Dated: New York, New York           DECHERT LLP
       February 23, 2021
                                    By: /s/ Michael J. Gilbert

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                                    CERTIFICATE OF SERVICE


       I, the undersigned, hereby certify that on the 23rd day of February 2021, I electronically filed

this Notice of Motion, along with the accompanying Memorandum of Law in Support of Defendant

Ruben Weigand’s motions to dismiss the Indictment, using the CM/ECF system, which automatically

sends notice and a copy of the filing to all counsel of record.



                                              /s/ Michael J. Gilbert
                                              Michael J. Gilbert

                                              Attorney for Defendant Ruben Weigand
